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                        EXHIBIT C
                               1
                               1                                       Exhibit C
                                                                       Exhibit C
                  Case 6:20-cv-00253-AA        Document 88-3         Filed 05/15/20   Page 2 of 2




From:
From:                            Rowley, Christian
                                 Rowley, Christian
Sent:
Sent:                            Wednesday, May
                                 Wednesday,         13, 2020
                                               May 13,  2020 1:48 PM
                                                             1:48 PM
To:
To:                              'Andy Clark'; 'courtclark@districtcourtoregon.com'
                                 'Andy Clark'; 'courtclark@districtcourtoregon.com'
Cc:
Cc:                              Rowley, Christian
                                 Rowley, Christian
Subject:
Subject:                         RE: Cease
                                 RE: Cease &
                                           & Desist
                                               Desist Order
                                                      Order


Mr. Clark:

We are disappointed to learn that on Monday, May 11th, you flagrantly violated the Court’s
                                                                                   Court's Friday, May 8th,
Order.

Even if you disagree with that Order, you cannot simply ignore it, as you have done by continuing to send
communications directly to Wells Fargo about your claims and theories. In so doing, you have shown your
disregard for the Judge, the Court, and the rule of law. We will be seeking relief from the Court in the form of
sanctions and, if this behavior continues, potentially a further Order with additional restrictions.

I respectfully encourage you to adhere to the Court's
                                              Court’s order and direct all future communications to me.

Best regards,

Christian




Christian J. Rowley |I Partner
San Francisco !| Ext: 781001 (+1-415-544-1001)
                             (+1-415-544-1001)1| Mobile: +1-415-377-7195
crowley@seyfarth.com
From: Rowley,
From:  Rowley, Christian
               Christian
Sent: Friday,
Sent: Friday, May
              May 8,
                  8, 2020
                     2020 3:46 PM
                          3:46 PM
To: 'Andy
To:       Clark'
    'Andy Clark'
Cc: Rowley,
Cc: Rowley, Christian
            Christian
Subject: Cease
Subject: Cease && Desist
                  Desist Order
                         Order


Dear Mr. Clark:

You have been ordered by the United States District Court to direct all communications intended for Wells
Fargo or anyone associated with it to me. I have attached the Court Order.

Going forward, please do not attempt to communicate with anyone associated with the Bank or with my firm,
except for me. This includes faxes, phone calls, emails, texts or any other form of communication.

We appreciate your anticipated full compliance with this Order, so we don’t
                                                                      don't need to ask the Court to find you in
contempt or seek other sanctions.

Have a Good Weekend & Best Regards,

Christian



                                                           1
                                                           1
                                                           2
                                                           2                                        Exhibit C
                                                                                                    Exhibit C
